          Case 5:22-cr-00025-J Document 1 Filed 01/18/22 Page 1 of 4




     IN THE UNITED STATES DISTRICT COURT FOR T
                                                                   TILED
                  WESTERN DISTRICT OF OKLAHOMA
                                                                      JAN 1 8 2022
                                                                 CARMELITA REEDER SHINN, CLERK
                                                            U.S. DIST. COURT, WESTERN DIST_OKLA.
                                                            BY                            UtKUlY
UNITED STATES OF AMERICA,

                     Plaintiff,

           -vs-                                      22-025 J
BRANDON WAYNE KILLIAN and                  Violations:
DEVAN NATHANIEL JOHNSON,
                                           18 U.S.C. § 249(a)(1)
                     Defendants.           18 U.S.C. § 2


                           INDICTMENT


The Federal Grand Jury Charges:

                                  Introduction


     At all times relevant to this Indictment:


     1.    The Brickhouse Saloon was a bar in Shawnee, Oklahoma.

     2.    BRANDON       WAYNE        KILLIAN    was a    white      resident of

Oklahoma City, Oklahoma.

     3.    DEVAN NATHANIEL JOHNSON was a white resident of

Harrah, Oklahoma.
           Case 5:22-cr-00025-J Document 1 Filed 01/18/22 Page 2 of 4




      4.    J.C. was a Black resident of Shawnee, Oklahoma. His high-school

friend, M.W., was a white resident of Macomb, Oklahoma.


                                 COUNT ONE
                                 (Hate Crime)

      5.    The Federal Grand Jury incorporates Paragraphs 1-4 by reference.

      6.    On or about June 22, 2019, within the Western District of

Oklahoma,

                        BRANDON WAYNE KILLIAN and
                        DEVAN NATHANIEL JOHNSON,-

while aiding and abetting each other, willfully caused bodily injury to J.C.

because of J.C.'s actual and perceived race and color. Specifically, KILLIAN

and JOHNSON physically assaulted J.C. in the Brickhouse Saloon parking

lot, causing bodily injury to J.C.

      All in violation of Title 18, United States Code, Section 249(a)(1), and

Title 18, United States Code, Section 2.
          Case 5:22-cr-00025-J Document 1 Filed 01/18/22 Page 3 of 4




                               COUNT TWO
                               (Hate Crime)

     7.     The Federal Grand Jury incorporates Paragraphs 1-4 by reference.

     8.     On or about June 22, 2019, within the Western District of

Oklahoma,

                     BRANDON WAYNE KILLIAN and
                     DEVAN NATHANIEL JOHNSON,

while aiding and abetting each other, willfully caused bodily injury to M.W.

because of the actual and perceived race and color of J.C. Specifically,

KILLIAN and JOHNSON physically assaulted M.W. in the Brickhouse

Saloon parking lot, causing bodily injury to M.W.
          Case 5:22-cr-00025-J Document 1 Filed 01/18/22 Page 4 of 4




      All in violation of Title 18, United States Code, Section 249(a)(1), and

Title 18, United States Code, Section 2.




                                    A TRUE BILL:




                                    FOREPERSON OF THE GRAND JURY



ROBERT J. TROESTER
United States Attorney




JULIA E. BARRY
Assistant United States Attorney


KRISTEN M. CLARKE
Assistant Attorney General
Civil Rights Division, U.S. Department of Justice


AVNER SHAPIRO
Trial Attorney
Criminal Section, Civil Rights Division
